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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL PROTECTION               )
BUREAU,                                     )
                                            )
                           Plaintiff,       )
                                            )
                  V.
                                            )   .C.A. No. 17-CV-01323 (OMS)
                                            )
THE NATIONAL COLLEGIATE MASTER
                                            )
STUDENT LOAN TRUST; NATIONAL
                                            )
COLLEGIATE STUDENT LOAN TRUST 2003-1;
                                            )
NATIONAL COLLEGIATE STUDENT LOAN
                                            )
TRUST 2004-1; NATIONAL COLLEGIATE
                                            )
STUDENT LOAN TRUST 2005-1; NATIONAL
                                            )
COLLEGIATE STUDENT LOAN TRUST 2005-2;
                                            )
NATIONAL COLLEGIATE STUDENT LOAN
                                            )
TRUST 2006-1; NATIONAL COLLEGIATE
                                            )
STUDENT LOAN TRUST 2006-2; NATIONAL
                                            )
COLLEGIATE STUDENT LOAN TRUST 2006-3;
                                            )
NATIONAL COLLEGIATE STUDENT LOAN
                                            )
TRUST 2006-4; NATIONAL COLLEGIATE
                                            )
STUDENT LOAN TRUST 2007-1; NATIONAL
                                            )
COLLEGIATE STUDENT LOAN TRUST 2007-2;
                                            )
NATIONAL COLLEGIATE STUDENT LOAN
                                            )
TRUST 2007-3; and NATIONAL COLLEGIATE
                                            )
STUDENT LOAN TRUST 2007-4,
                                            )
Delaware Statutory Trusts,
                                            )
                           Defendants.      )




{A&B-00525221-}
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      [PROPOSED] ORDER GRANTING MOTION OF STRUCTURED FINANCE
   INDUSTRY GROUP, INC. FOR LEAVE TO FILE A BRIEF AS AN AMICUS CURIAE

           Having considered Structured Finance Industry Group, Inc.'s Motion For Leave To File a

 Brief as an Amicus Curiae (the "Motion"), and good cause appearing therefore,

 IT IS HEREBY ORDERED THAT:

           I.      The Motion is granted~~;

           2.      The Brief shall be filed,x'y Structured Finance Industry Group, Inc as an Amicus

 Curiae.                          ,t\
 IT IS SO ORDERED this _iJ_ day of _          ___,._cl-~:g..---F---"'~-'   2017.




 {A&B-00525221-}                                  -2-
